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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                            JASPER DIVISION
SAMUEL WADE                        )
MONTGOMERY, et al.,                )
                                   )
      Plaintiffs,                  )
                                   )
vs.                                )       Case No. 6:15-cv-00881-TMP
                                   )
BAPTIST HEALTH SYSTEM,             )
INC., et al.,                      )
                                   )
      Defendants.                  )

                                  ORDER

      Pending before the court is the Cross-Claim Defendants’ Motion to Extend

Deadlines to Answer Cross-Claim and Third-Party Complaint for Declaratory

Judgment (doc. 51), which has been joined by Third-Party Defendant Torus

Specialty Insurance Company (doc. 52). The Motion is GRANTED.

      The In-Chambers Conference previously set for February 13, 2018, is

RESET for March 5, 2018, at 2:00 p.m. in Hugo L Black US Courthouse,

Birmingham, AL before Magistrate Judge T Michael Putnam.

      DONE and ORDERED on January 31, 2018.



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                                   T. MICHAEL PUTNAM
                                   UNITED STATES MAGISTRATE JUDGE
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